           Case 1:24-cv-10049-LJL             Document 266           Filed 06/03/25          Page 1 of 4

                                                                                                        1875 K Street, N.W.
                                                                                                        Washington, DC 20006-1238

                                                                                                        Tel: 202 303 1000
                                                                                                        Fax: 202 303 2000
                                       The motion to compel at Dkt. Nos. 261 and 262 is denied based on Plaintiff's
                                       representation that the relevant claims will be withdrawn. Lively's request that
                                       "because the parties have agreed to dismiss Ms. Lively’s tenth and eleventh causes of
                                       action . . . the Court exercise its inherent authority and authority under Rule 15 to
June 2, 2025
                                       dismiss them without prejudice" is denied without prejudice to renewal. The parties
                                       shall stipulate to whether the dismissal is with or without prejudice, or Lively shall
VIA ECF                                renew her request by formal motion. For avoidance of doubt, if the claims are not
                                       dismissed, the Court will preclude Lively from offering any evidence of emotional
The Honorable Lewis J. Liman           distress.
United States District Court
Southern District of New York    Date: 6/3/25
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007

Re:     Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL (“Lively Case”); Wayfarer
        Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL (“Wayfarer Case”) (together,
        “Consolidated Cases”)

Dear Judge Liman,

         On behalf of our client, Blake Lively, we respectfully oppose the motion to compel and related
filings by the Wayfarer Parties earlier today. 1 See Dkt. No. 260-61 (the “Motion”). Given that the Motion
is a false and plainly improper public relations stunt, Ms. Lively further requests that the Court deny and
strike the Motion pursuant to its “inherent power to control” material on its docket that is “abusive or
otherwise improper under the circumstances.” See Outlaw v. City of New York, No. 22-cv-9288 (PAE),
2024 WL 4825955, at *3 (S.D.N.Y. Nov. 19, 2024) (citation omitted). Ms. Lively respectfully submits
that the Court may wish to consider sanctions for the continued abuse of this Court’s docket.

        The Motion was filed for a single audience: the media. There is nothing for this Court to compel.
As the Wayfarer Parties make abundantly clear in their Motion, Ms. Lively voluntarily agreed to
withdraw her infliction of emotional distress claims on Friday, May 30. Ms. Lively did so in good faith
to streamline the dispute in the ordinary litigation process given the damages she otherwise anticipates
recovering. Counsel for the Wayfarer Parties concede and are aware that this renders their discovery
moot. Motion at 3. But they also have been desperately searching for an angle to make a show out of
Ms. Lively’s decision to streamline her case.

        Given this, counsel for the Wayfarer Parties attempted to seize on the parties’ agreement as to
Ms. Lively’s withdrawal as a basis for this frivolous Motion. On Friday, counsel for the Wayfarer Parties
proposed a stipulation to dismiss Ms. Lively’s tenth and eleventh causes of action for intentional and
negligent infliction of emotional distress, respectively. Ms. Lively’s counsel provided proposed edits to
the stipulation on Sunday evening, after receiving repeated emails on Friday, late Saturday evening, and


1
 Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, It Ends With Us Movie LLC, Melissa Nathan, The
Agency Group PR LLC, and Jennifer Abel.



                 B RUSS ELS C HICAGO D ALLAS F RANKFURT H OUSTON L ONDON L OS A NGELES M ILAN
                     M UNICH N EW Y ORK P ALO A LTO P ARIS R OME S AN F RANCISCO W ASHINGTON
            Case 1:24-cv-10049-LJL                Document 266            Filed 06/03/25         Page 2 of 4
Hon. Lewis J. Liman
June 2, 2025


early on Sunday morning, falsely and disingenuously claiming that Ms. Lively was refusing to participate
in discovery (by not immediately responding in the middle of the night, apparently) and threatening to
advise the Court. The Wayfarer Parties offered no basis whatsoever for their unnecessary escalation of
a mutually agreeable streamlining of claims, or why finalizing the method of dismissal could not wait
until Monday morning. Nonetheless, in an effort to defuse the situation and avoid unnecessarily
burdening the Court, Ms. Lively agreed to the stipulated dismissal, and proposed modest revisions to the
parties’ joint stipulation for dismissal on Sunday evening. In conveying the revisions, counsel for Ms.
Lively offered to meet and confer regarding any dispute as to the language of the stipulation, including
on the parties’ then-forthcoming teleconference scheduled for Monday afternoon at 4:30 pm EST.
Counsel for the Wayfarer Parties (including Mr. Fritz as signatory on the Motion) attended the
teleconference and did not address the stipulation. To be clear: at no point during the conference did they
object to or raise any concern regarding Ms. Lively’s proposed revisions to the stipulation. Instead, they
rushed to this Court to file this clearly pre-written Motion the minute that the teleconference concluded.
Almost immediately thereafter, tabloid media began reporting “exclusively” on Ms. Lively’s “shock”
move, claiming that she has “sensationally” dropped her IIED claim, quoting extensively from the
Motion.2

        The Wayfarer Parties’ Motion should be denied and, further, should be struck. It is based on two
brazenly false assertions. First, they claim that Ms. Lively has “refused” to disclose medical and mental
health information, but as counsel for the Wayfarer Parties concede, that information is relevant only to
Ms. Lively’s stand-alone tort-based emotional distress claims that she indicated she was withdrawing. 3
See Motion at 3. To suggest that Ms. Lively has “refused” to produce anything (in either her written
discovery responses, in the parties’ conference, or anytime thereafter) in connection with these claims is
intentionally misleading to the Court and their intended audience for this false record: the public. Second,
they claim that Ms. Lively has “refused” to properly stipulate to dismissal. But, that would suggest there
was any discussion or mutually known dispute as to the stipulation. As noted, there was none. Further,
the Motion seeks to improperly compel documents that the Wayfarer Parties lack a legal basis to obtain,
and seeks no relief at all as to the stipulation. Because the Wayfarer Parties concede that Ms. Lively has
agreed to dismiss the tenth and eleventh causes of action to which such discovery is solely directed, and
they have agreed to the dismissal and proposed a joint stipulation to that effect, the Motion does not
legitimately seek any form of relief, is irrelevant to any motion currently pending before the Court, and
serves no legitimate purpose. See Nat. Res. Def. Council, Inc., v. U.S. Food & Drug Admin., 884 F. Supp.
2d 108, 116 & n.5 (S.D.N.Y. 2012) (exercising inherent authority to strike a document that was not
“relevant” or “‘useful’ to the Court”); Impulsive Music v. Pomodoro Grill, Inc., 2008 WL 4998474, at
*3 (W.D.N.Y. Nov. 19, 2008) (striking allegations that “[were] not relevant and ha[d] no bearing on the
issues”).

        As with the Freedman Letter that this Court previously struck, the apparent intent of the Motion
is to launder their public relations narrative into the press by abusing the Court’s docket. See Dkt. No.
2
  Ruth Styles, Blake Lively makes shock move and drops ‘intentional infliction of emotional distress’ claim against Justin
Baldoni https://www.dailymail.co.uk/tvshowbiz/article-14773929/Blake-Lively-makes-shock-drops-intentional-infliction-
emotional-distress-claim-against-Justin-Baldoni.html (Daily Mail, June 2, 2025).
3
  Notably, the Motion makes clear that the discovery requests at issue more appropriately are posed as interrogatory requests,
seek information outside of her custody and control, or improperly attempt to have Ms. Lively create discovery in order to
produce it, and if not struck, the Motion should be denied for these reasons as well. See Motion at 2.




                                                            -2-
            Case 1:24-cv-10049-LJL       Document 266        Filed 06/03/25      Page 3 of 4
Hon. Lewis J. Liman
June 2, 2025


220. Ms. Lively respectfully requests that the Court exercise its inherent authority to control its own
docket and strike the Motion as unnecessary, improper, and abusive. The Court may also wish to issue
sanctions under its inherent authority to deter continuing misconduct in connection with the Wayfarer
Parties’ future filings, as this Court has warned against. See id. at 4.

       Last, because the parties have agreed to dismiss Ms. Lively’s tenth and eleventh causes of action,
Ms. Lively requests that the Court exercise its inherent authority and authority under Rule 15 to dismiss
them without prejudice. See, e.g., Creative Photographers, Inc. v. Grupo Televisa, S.A.B., 1:23-cv-
07106-LJL, 763 F. Supp. 3d 618 (S.D.N.Y. Jan. 16, 2025) (construing voluntary stipulation to dismiss
and granting pursuant to Fed. R. Civ. P. 15, 21); Sanzari v. Metro-North Railroad Co., No. 19-cv-8689
(LJL), 2021 WL 467339, at *5 (S.D.N.Y. Feb. 9, 2021) (deeming claims withdrawn and dismissing
without prejudice on basis of counsel’s representations at oral argument).




                                                     Respectfully Submitted,

                                                     s/ Michael J. Gottlieb

                                                     WILLKIE FARR & GALLAGHER LLP
                                                     Michael J. Gottlieb
                                                     Kristin E. Bender
                                                     Meryl C. Governksi (pro hac vice)
                                                     Willkie Farr & Gallagher
                                                     1875 K Street NW
                                                     Washington, DC 20006
                                                     (202) 303-1000
                                                     mgottlieb@willkie.com
                                                     kbender@willkie.com
                                                     mgovernski@willkie.com

                                                     Aaron E. Nathan
                                                     Willkie Farr & Gallagher LLP
                                                     787 Seventh Avenue
                                                     New York, NY 10019
                                                     (212) 728-8000
                                                     anathan@willkie.com


                                                     MANATT, PHELPS & PHILLIPS, LLP
                                                     Esra A. Hudson (pro hac vice)
                                                     Stephanie A. Roeser (pro hac vice)
                                                     Manatt, Phelps & Phillips LLP




                                                  -3-
            Case 1:24-cv-10049-LJL   Document 266    Filed 06/03/25    Page 4 of 4
Hon. Lewis J. Liman
June 2, 2025


                                             2049 Century Park East, Suite 1700
                                             Los Angeles, California 90067
                                             (310) 312-4000
                                             ehudson@manatt.com
                                             sroeser@manatt.com

                                             Attorneys for Blake Lively and Ryan Reynolds




                                           -4-
